                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN

 COALITION TO MARCH ON THE RNC,


                                       Plaintiff,


 v.


 CITY OF MILWAUKEE, CAVALIER                       Civil Action No: 2:24-cv-00704
 JOHNSON in his official capacity as Mayor of the
 City of Milwaukee, JERREL KRUSCHKE in his
 official capacity as Commissioner of Public Works
 for the City of Milwaukee, and KIMBERLY A.
 CHEATLE in her official capacity as Director of
 the United States Secret Service,



                                       Defendants.


  EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER AND/OR
PRELIMINARY INJUNCTION AND REQUEST FOR HEARING AS TO DEFENDANT
                 UNITED STATES SECRET SERVICE


       COMES NOW Plaintiff Coalition to March on the RNC and files this Motion requesting

that the Court enter a Temporary Restraining Order and/or Preliminary Injunction as to

Defendant Kimberly A. Cheatle in her official capacity as Director of the United States Secret

Service, and that the Court set the matter for hearing for July 3, 2024 at 9:00 am.



       1.       On June 6, 2024, Plaintiff filed this case along with a Motion for Preliminary

Injunction against the City of Milwaukee defendants named above in which it advanced

numerous claims that the City’s Special Event Ordinance and the City Defendants’ refusal to

grant or deny Plaintiff’s permits or to release information on restrictions planned for the 2024


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Republican National Convention (“RNC”) in downtown Milwaukee violated Plaintiff’s First and

Fourteenth Amendment rights.

       2.       On the evening of Friday, June 21, 2024, the same day that the City Defendants’

responsive briefing was due to this Court, the City finally released its planned restrictions and

proposed parade route for demonstrators like the Plaintiff. At the same time, the United States

Secret Service released the details of its planned “credentialed zone” which would be within the

City’s security footprint, but be entirely off-limits to all protestors and demonstrators lacking

official RNC credentials. This is the first time that Plaintiff or the public was able to evaluate the

restrictions that the Secret Service planned to impose.

       3.       At a status conference on June 24, 2024, the Court ordered that Plaintiff’s Motion

for Preliminary injunction would be set for oral argument on July 3, 2024 at 9:00 am.

       4.       With the Secret Service’s planned “credentialed zone” extending far beyond what

Plaintiff or any news reporting expected, it only became clear at that time that Plaintiff’s claims

and requested relief to this Court must also be ordered applicable to the United States Secret

Service. Accordingly, on June 27, 2024, Plaintiff filed a First Amended Complaint adding the

Director of the Secret Service as a Defendant in her official capacity (ECF 33) and on that same

day, Plaintiff filed a Reply Brief related to its initial Motion for Preliminary Injunction (ECF 34)

that explained the additional need for the requested injunction to apply to the Secret Service.

Plaintiff hereby incorporates by reference the facts and argument necessitating injunctive relief

as to all Defendants, including the Secret Service, as described in that briefing.

       5.       Recognizing that the Secret Service was not a party in this case at the time that

Plaintiff filed its initial Motion for Preliminary Injunction, Plaintiff now files this supplementary

request for a TRO and/or Preliminary Injunction as to the Secret Service and requests that the




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Court set it for hearing simultaneously with the hearing currently set on its initial Motion, on

July 3, 2024 at 9:00 am.


     A TEMPORARY RESTRAINING ORDER AS TO THE UNITED STATES SECRET
                SERVICE IS PERMISSIBLE AND WARRANTED


       6.       Federal Rule of Civil Procedure 65 lays out the requirements that must be met for

a court to order a Temporary Restraining Order without written or oral notice to the adverse

party. Fed. R. Civ. P. 65(b). Because of the extraordinary timeline involved in this case, the

Defendants’ culpability in creating that emergency timeline, and for the reasons that follow, the

Court is empowered to enter a Temporary Restraining Order as to the Secret Service even

without notice or an opportunity to be heard.

       7.       Without immediate relief for the Plaintiff, immediate and irreparable injury, loss,

or damage will result to the movant before the adverse party can be heard in opposition; and

       8.       Plaintiff’s attorney has certified by the following efforts made to give notice and

the reasons why it should not be required:

                   Upon information and belief, the Secret Service has been hyper-aware of this

                    case since its original filing, coordinating with the City Defendants on

                    numerous aspects of the case;

                   At the attempted mediation of this case on June 16, 2024, the Secret Service

                    attended the mediation represented by independent legal counsel;

                   On June 21, 2024, the Secret Service coordinated with the City Defendants for

                    a simultaneous release of its security “credentialed zone” map along with the

                    City’s security zone and proposed demonstration areas;




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       Also by June 21, 2024, the Secret Service had coordinated with the City

        Defendants on their Response to Plaintiff’s initial Motion for Preliminary

        Injunction, including numerous explanations and justifications of the security

        footprint from the point of view of the Secret Service. This coordination and

        response, for all practical purposes, resulted in the Secret Service’s position

        being briefed to the Court, even before it was a named party;

       This fact is bolstered by the inclusion of the 8-page Declaration of Audrey

        Gibson Cicchino, RNC Coordinator for the Secret Service, signed on June 20,

        2024, as a heavily cited exhibit to the City Defendants’ Response;

       On June 24, 2024, prior to filing of Plaintiff’s First Amended Complaint,

        counsel for the Plaintiff contacted Michael Carter, Assistant United States

        Attorney who had previously represented the Secret Service at the June 16

        mediation, to inform him that the Plaintiff intended to add the Secret Service

        as a Defendant in this case, and to inquire if he was authorized to accept

        service on its behalf;

       Promptly upon filing its First Amended Complaint, on the morning of June

        25, 2024, Plaintiff sent service to the appropriate persons at the offices of the

        Secret Service both locally and in Washington, D.C., and also to the Attorney

        General by way of their designated agent in Washington, D.C.

       Understanding the timeline of this case, Plaintiff sent service of these

        documents by Overnight Registered Mail, and provided courtesy copies by e-

        mail to Attorney Michael Carter in the office of the U.S. Attorney for the

        Eastern District of Wisconsin.



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                    Plaintiff also provided written notice to Attorney Michael Carter that this case

                     is currently set for a hearing before the Court on July 3, 2024 at 9am in e-mail

                     correspondence on June 24 and June 25.

        9.       As fully explained in Plaintiff’s Reply Brief (ECF 34), Plaintiff will suffer

irreparable harm if injunctive relief is not entered as to all Defendants, including the Secret

Service. The Secret Service’s “credentialed zone” unlawfully restricts Plaintiff’s First

Amendment rights, and without Court intervention prior to July 15, 2024, those injuries will be

permeant and non-redressable.

        10.      The emergency nature of this Motion and the truncated timeline requested for any

briefing are necessitated by the Defendant’s actions in failing to timely release its plans to

facilitate a fair judicial review, and therefore, Defendants should be barred in equity from

opposing the requested procedure or timeline.

        11.      While Plaintiff has made every reasonable attempt to complete service and

provide prompt and timely notice to the Secret Service regarding this case, as of this writing,

Plaintiff, nevertheless, cannot guarantee that service will be perfected prior to the Court’s

scheduled hearing date on July 3rd. Accordingly, the Court is justified, if necessary, in entering a

Temporary Restraining Order as to the Secret Service based on the arguments and requested

relief outlined in Plaintiff’s Reply Brief related to its initial Motion for Preliminary Injunction. If

service is perfected prior to the Court’s order in this case, a Preliminary Injunction as to the

Secret Service is justified.

        12.      Considering the foregoing and the Emergency nature of this case, Plaintiff

further requests that the Court set this Motion for hearing simultaneously with the existing

Motion for Preliminary Injunction in this case, currently set for July 3, 2024 at 9:00 am.




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Dated: June 27, 2024            Respectfully submitted,


                                 By:_/s R. Timoty Muth___________

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